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     Exhibit A    -     Proof of Non-Military Status
     Exhibit B    -     Declaration of Francis Donohue
     Exhibit C    -     Summons and Complaint
     Exhibit D    -     Proof of Service of Summons and Complaint
     Exhibit E    -     Proposed Order and Judgment
        Case 8:22-ap-01002-ES                 Doc 13 Filed 05/09/22 Entered 05/09/22 14:34:57                                       Desc
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                                    PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Voss, Cook & Thel LLP, 2301 Dupont Drive, Suite 500, Irvine, CA 92612

A true and correct copy of the foregoing document entitled: PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT UNDER
LBR 7055-1 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 05/09/2022 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                        Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 05/09/2022 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
1. [Debtor/Defendant]    Lewis R. O'Reilly, 3059 Scholarship, Irvine, CA 92612
2. [Court] Hon. Erithe Smith, Judge



                                                                                        Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 05/09/2022 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Charles W. Daff, attorney for debtor Lewis R.. O'Reilly at charleswdaff@gmail.com, r53975@notify.bestcase.com




                                                                                        Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 05/09/2022               Francis T. Donohue III
 Date                         Printed Name                                                  Signature




           This form is          It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                     Page 4                               F 7055-1.2.DEFAULT.JMT.MOTION
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                              Exhibit A
             Military Status Verification
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                              Exhibit B
       Declaration in Support of Motion
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  1   Francis T. Donohue III, Esq. (CSB# 106801)
      email: ftd@vctlaw.com
  2   VOSS, COOK & THEL LLP
      2301 Dupont Drive, Suite 500
  3   Irvine, California 92612-7504
      Telephone (949) 435-0225
  4   Fax 949 435-0226
  5   Attorneys for Plaintiffs
      Angela Danciu and George Danciu
  6

  7

  8                             UNITED STATES BANKRUPTCY COURT

  9                              CENTRAL DISTRICT OF CALIFORNIA

 10   In re:                                                 )
                                                             ) CASE NO. 8:21-bk-12426-MW
 11   Lewis R. O’REILLY                                      )
                                                             ) Chapter 7
 12                                                          )
                     Debtor                                  )
 13                                                          ) Adv. Case No. 8:22-ap-01002-ES
      __________________________________                     )
 14                                                          )
      Angela Danciu and George Danciu                        )
 15                                                          )   Declaration of Francis T. Donohue
                              Plaintiffs,                    )   III in Support of Plaintiffs’ Motion
 16                                                          )   for Entry of Default Judgment
               vs.                                           )   against Defendant Lewis R. O’Reilly
 17                                                          )
      Lewis R. O’Reilly                                      )
 18                                                          )
                              Defendant.                     )
 19                                                          )
 20                           DECLARATION OF FRANCIS T. DONOHUE III

 21   I, Francis T. Donohue III hereby declare

 22            1.    I am counsel of record for plaintiffs Angela Danciu and George Danciu in the

 23   above referenced adversary proceeding Danciu v. O’Reilly, and am counsel of record for Angela

 24   Danciu and George Danciu in the Orange County Superior Court case against Lewis R. O’Reilly

 25   which was stayed by O’Reilly’s bankruptcy petition. I make the following statements based on

 26   my own personal knowledge.

 27            2.    On April 28, 2020, I filed a complaint by plaintiffs Angela Danciu and George

 28   Danciu against defendants Kool Blast Gas, Inc., Lewis O’Reilly, and Maryellen O’Reilly in the

                                                       -1-
                              Declaration in Support of Request for Entry of Default
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  1   Superior Court of the State of California, Orange County. It alleged breach of a written lease

  2   and breach of a written guaranty of the lease. A copy of the complaint is attached as Exhibit 1 to

  3   the Adversary Complaint filed by Angela Danciu and George Danciu against Lewis R. O’Reilly

  4   in the above captioned matter.

  5          3.      In response to the state court complaint, Lewis O’Reilly filed an answer and

  6   served me (as counsel for the plaintiffs) with the answer. A true copy of Lewis O’Reilly’s

  7   answer is attached as Exhibit 2 to the Adversary Complaint in this matter. On page 6 of his

  8   answer O’Reilly submits an affidavit in which he affirms “that I signed my ex-wife’s name

  9   (Maryellen O’Reilly) to the lease document for rental property…. I took this action without

 10   Maryellen’s knowledge or permission….”

 11          4.      Based on O’Reilly’s admission of fraud and his forgery of his ex-wife’s signature,

 12   we filed a First Amended Complaint in the state court action to include causes of action for fraud

 13   in addition to the breach of contract causes of action. The breach of contract causes of action

 14   concern the Lease and Guaranty on which O’Reilly forged his ex-wife’s signature. A true copy

 15   of the First Amended Complaint is attached to the Adversary Complaint as Exhibit 3.

 16          5.      O’Reilly failed to answer the First Amended Complaint, and default was entered

 17   against him in the state court action.

 18          6.      Before we were able to file the “prove up” documents in the state court action to

 19   obtain a judgment, O’Reilly filed his petition for bankruptcy which stayed the California

 20   Superior Court action.

 21          7.      I served the court issued Summons and Notice of Status Conference in Adversary

 22   Proceeding and the Adversary Complaint on the named defendant Lewis R. O’Reilly by mail on

 23   January 25, 2022, by mailing it to Mr. O’Reilly at his stated address of 3059 Scholarship, Irvine,

 24   CA 92612. I also electronically signed and filed with the court a Proof of Service of the

 25   documents. Attached to this Motion is a conformed copy of the Proof of Service of the

 26   Summons and the Adversary Complaint. The Proof of Service was filed as Doc. # 3 in the court

 27   clerk’s file for this adversary proceeding.

 28          8.      The time for filing an answer or other responsive pleading expired on February

                                                        -2-
                               Declaration in Support of Request for Entry of Default
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  1   10, 2022.

  2          9.      O’Reilly defaulted on the Adversary Complaint and the Court entered default

  3   against O’Reilly on March 28, 2022 [Docket # 11].

  4          10.     I checked with the Department of Defense Manpower Data Center to see whether

  5   Lewis O’Reilly was in military service. The Center reported that O’Reilly is not in military

  6   service. A copy of the Status Report is attached to this motion as Exhibit A.

  7

  8          I declare under penalty of perjury under the laws of the United States that the foregoing is

  9                                9th day of May, 2022, at Irvine, California.
      true and correct. Dated this _____

 10

 11
                                                   Francis T. Donohue III
 12

 13

 14

 15

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 17

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 19

 20

 21

 22

 23

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 25

 26

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 28

                                                     -3-
                            Declaration in Support of Request for Entry of Default
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                               Exhibit C
       Copy of Summons and Complaint
         Case
          Case8:22-ap-01002-MW
               8:22-ap-01002-ES                  Doc 13
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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Francis Thomas Donohue
Voss, Cook & Thel
2301 Dupont Drive
Suite 500
Irvine, CA 92612
949−435−0225




Plaintiff or Attorney for Plaintiff

                                        UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA − SANTA ANA
In re:

                                                                              CASE NO.:    8:21−bk−12426−MW

Lewis R O'Reilly                                                              CHAPTER:     7


                                                                              ADVERSARY NUMBER:         8:22−ap−01002−MW
                                                               Debtor(s).

Angela Danciu

(See Attachment A for names of additional plaintiffs)
                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Lewis R O'Reilly                                                                     PROCEEDING [LBR 7004−1]

                                                           Defendant(s)


TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
02/10/2022. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                April 6, 2022
             Time:                10:00 AM
             Hearing Judge:       Mark S Wallace
             Location:            411 W Fourth St., Crtrm 6C, Santa Ana, CA 92701



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                  Page 1                        F 7004−1.SUMMONS.ADV.PROC
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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: January 11, 2022




                                                                                        By:        "s/" James Le
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                Page 2                        F 7004−1.SUMMONS.ADV.PROC
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                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
Angela Danciu                                                                Lewis R O'Reilly
George Danciu




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

                                                             ATTACHMENT A
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                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Voss, Cook & Thel, LLP, 2301 Dupont Drive, Suite 500, Irvine, CA 92612


A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004−1] and (2) the accompanying pleading(s) entitled:
 Adversary Complaint Objecting to Discharge of Claim and for Finding Claim Nondischargable
__________________________________________________________________________________________________________
  Pursuant to 11 U.S.C. s 523 ; and Early Meeting of Counsel and Status Conference Instructions
__________________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005−2(d); and (b) in the manner
stated below:

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
   Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
   (date) _____________________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
   addresses stated below:




                                                                               Service information continued on attached page
                                                          1/25/2022
   2. SERVED BY UNITED STATES MAIL: On (date) _____________________,                   I served the following persons and/or
   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
   the document is filed.
   1. Lewis O'Reilly 3059 Scholarship, Irvine, CA 92612
    2. Hon. Mark S. Wallace

                                                                               Service information continued on attached page
   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
   method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
   _____________________, I served the following persons and/or entities by personal delivery, overnight mail service,
   or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
   completed no later than 24 hours after the document is filed.

    1. Charles W. Daff on behaofl of Lewis R.. O'Reilly charleswdaff@gmail.com, r53975@notify.bestcase.com


                                                                               Service information continued on attached page
   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   1/25/22                         Francis T. Donohue III
   _____________________________________________________________
                                                                                                                s // Francis T Donohue
                                                                                                    _________________________________
   Date                   Printed Name                                                                 Signature

                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                                                  F 7004−1.SUMMONS.ADV.PROC
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  1   Francis T. Donohue III, Esq. (CSB# 106801)
      email: ftd@vctlaw.com
  2   VOSS, COOK & THEL LLP
      2301 Dupont Drive, Suite 500
  3   Irvine, California 92612-7504
      Telephone (949) 435-0225
  4   Fax 949 435-0226
  5   Attorneys for Plaintiffs
      Angela Danciu and George Danciu
  6

  7

  8                              UNITED STATES BANKRUPTCY COURT

  9                               CENTRAL DISTRICT OF CALIFORNIA

 10   In re:                                               )
                                                           )
 11   LEWIS O’REILLY                                       ) CASE NO. 8:21-bk-12426-MW
                                                           )
 12                                                        ) Chapter 7
                      Debtor                               )
 13                                                        )                8:22-ap-01002-MW
      __________________________________                   ) Adv. Case No. _________________
 14                                                        )
      Angela Danciu and George Danciu                      )
 15                                                        )
                               Plaintiffs,                 )   Adversary Complaint Objecting to
 16                                                        )   Discharge of Claim And For Finding
               vs.                                         )   Claim Nondischargable Pursuant to
 17                                                        )   11 U.S.C. § 523
      Lewis O’Reilly                                       )
 18                                                        )
                               Defendant.                  )
 19                                                        )
 20   TO THE COURT AND ALL PARTIES IN INTEREST:

 21            Plaintiffs and creditors Angela Danciu and George Danciu (collectively, “Danciu” or

 22   “plaintiffs”) hereby object to an entry of discharge of debtor Lewis O’Reilly as to the debt he

 23   owes to Danciu, and hereby request that Debtor’s debt to Danciu be excepted from any discharge

 24   in the above-entitled bankruptcy case pursuant to 11 U.S.C. § 523(a)(2), and allege as follows:

 25                                    FIRST CAUSE OF ACTION
                         For a Determination That Defendant’s Debts to Plaintiffs Are
 26                  Not Dischargeable Because of Fraud Pursuant to 11 U.S.C. §523(a)(2)
 27

 28

                                                     -1-
                                             ADVERSARY COMPLAINT
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  1                                           INTRODUCTION

  2          1.       This is an action to object to entry of discharge in the chapter 7 bankruptcy case

  3   of defendant Debtor Lewis R. O’Reilly, case number 8:21-bk-12426-MW pending in the above

  4   referenced U.S. Bankruptcy Court for the Central District of California; as to the debt Debtor

  5   owes to plaintiffs and to seek a determination that O’Reilly’s debt to plaintiffs should be

  6   excepted from any discharge order issued in this bankruptcy pursuant to 11 U.S.C. §523(a)(2).

  7          2.       Plaintiffs contend that the debt is not dischargeable because the debt was for

  8   property and services obtained by false pretenses, false representation and actual fraud which

  9   was perpetrated by O’Reilly on Danciu when he fraudulently forged his wife’s signature on a

 10   Lease and a Lease Guaranty, represented the signature as his wife’s, and plaintiffs relied on that

 11   forged signature when they agreed to lease property to O’Reilly’s company subject to the forged

 12   Lease and forged Guaranty.

 13                                            JURISDICTION

 14          3.       On 10/05/2021 Debtor filed a voluntary petition (the "Petition") for relief under

 15   chapter 7 of Title 11 of the United States Code (the "Bankruptcy Code") in the above captioned

 16   United States Bankruptcy Court for the Central District of California.

 17          4.       The court set January 18, 2022 as the filing deadline to object to the discharge or

 18   to challenge whether certain debts are dischargeable.

 19          5.       As of December 17, 2021 the Meeting of Creditors has been continued to January

 20   12, 2022.

 21          6.       This Court has jurisdiction of this adversary proceeding pursuant to 28 U.S.C. §

 22   1334 and Bankruptcy Code 11 U.S.C. § 523(a)(2) and FRBP 7001(6).

 23          7.       This case is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(I) and

 24   157(b)(2)(J).

 25                                                 VENUE

 26          8.       Venue is proper under 28 U.S.C. § 1409.

 27                                                PARTIES

 28          9.       Plaintiffs George Danciu and Angela Danciu (collectively “Danciu” and

                                                       -2-
                                          ADVERSARY COMPLAINT
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  1   “plaintiffs”) are listed creditors of Debtor and are residents of Orange County California who

  2   leased commercial property located in Costa Mesa, California to Debtor’s company Kool Blast

  3   Gas, Inc. based on a false representation by Debtor O’Reilly that he and his wife had signed the

  4   Lease and the written Guaranty of Lease.

  5          10.     Defendant and debtor Lewis R. O’Reilly (“O’Reilly) is a resident of the city of

  6   Irvine, Orange County, California.

  7                                       FACTUAL ALLEGATIONS

  8   A. The Bankruptcy Action

  9          11.     On 10/05/2021 Debtor filed a voluntary petition (the "Petition") for relief under

 10   chapter 7 of Title 11 of the United States Code (the "Bankruptcy Code") in the above captioned

 11   United States Bankruptcy Court for the Central District of California.

 12          12.     Debtor listed the plaintiffs Angela Danciu’s and George Danciu’s claim on his

 13   Voluntary Petition for Bankruptcy as claim no. 4.4.

 14   B. Plaintiffs’ Claim and the California Superior Court Action Against O’Reilly

 15          13.     In or about November 7, 2017, Danciu entered into a written lease with Debtor’s

 16   company Kool Blast Gas, Inc. (“Kool Blast”) for the rental of a commercial building in Costa

 17   Mesa, California. As part of the consideration for Danciu to enter the lease and as a material

 18   inducement for Danciu to enter the lease, Debtor provided Danciu with a written Lease and a

 19   written Guaranty of Lease that was purportedly signed and entered by Debtor and his wife

 20   Maryellen O”Reilly M.D.

 21          14.     Kool Blast fell behind in payments due under the lease and on May 28, 2020

 22   Danciu brought an action in the Superior Court of California, Orange County for breach of

 23   contract on the Lease and for breach of contract on the Guaranty of Lease against O’Reilly and

 24   Maryellen O’Reilly. A true copy of the complaint, which includes the Lease as its Exhibit A,

 25   and the Lease Guaranty as its Exhibit B, is attached to this pleading as Exhibit 1 and is

 26   incorporated herein by reference.

 27          15.     Debtor O’Reilly filed an answer to the complaint in which Debtor stated

 28   “Maryellen O’Reilly did not sign this lease and has no knowledge of it. I signed it without her

                                                     -3-
                                           ADVERSARY COMPLAINT
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  1   knowledge.” O’Reilly attached a document he entitled “O’Reilly Affidavit” to his answer to the

  2   complaint. In that Affidavit O’Reilly states: “I am providing this document to affirm that I

  3   signed my ex-wife’s name (Maryellen O’Reilly) to the lease document for the rental property at

  4   1351 Logan Avenue, Suite A, Costa Mesa California on November 13, 2017. … I took this

  5   action without Maryellen’s knowledge or permission to expedite the completion of this short two

  6   year lease.” A true copy of Debtor’s Answer is attached as Exhibit 2 to this pleading and is

  7   incorporated herein by reference.

  8          16.     Danciu also received a document from Debtor’s ex-wife Maryellen O’Reilly

  9   which also attested to the fact that the purported signature of Maryellen O’Reilly was not

 10   actually her signature.

 11          17.     In response to Debtor’s admission that he forged his ex-wife’s signature, Danciu

 12   filed a First Amended Complaint that added a cause of action for fraud against Debtor O’Reilly

 13   for forging his ex-wife’s signature on the Guaranty of Lease. A true copy of the First Amended

 14   Complaint is attached to this complaint as Exhibit 3 and is incorporated herein by reference.

 15          18.     Default was entered against Debtor O’Reilly on the First Amended Complaint on

 16   September 9, 2021. A true copy of the Entry of Default is attached to this complaint as Exhibit

 17   4 and is incorporated herein by reference.

 18          19.     Debtor filed his present Chapter 7 Bankruptcy action before judgment was

 19   entered on the default.

 20   The Allegations Of Fraud

 21          20.     Plaintiffs Angela Danciu and George Danciu entered into a written lease contract

 22   with defendant Kool Blast for the lease of real estate located at 1351 Logan Avenue, Suite A,

 23   Costa Mesa, CA. A true copy of the written Lease is attached to this complaint as Exhibit A to

 24   both Exhibit 1 (the state Complaint) and Exhibit 3 (the state First Amended Complaint) and is

 25   incorporated herein by reference. The contract is referred to as the “Lease” herein. The Lease

 26   was signed by Kool Blast by its president Lewis O’Reilly and purportedly by Maryellen O’Reilly

 27   as Kool Blast’s Corporate Secretary; additionally the Guaranty of Lease was signed and entered

 28   by Lewis O’Reilly in his individual capacity and purportedly signed and entered by Maryellen

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  1   O’Reilly in her individual capacity. As noted elsewhere in this pleading, Debtor O’Reilly has

  2   since acknowledged that he forged Maryellen O’Reilly’s signature on the lease documents.

  3          21.     Under the terms of the Lease at paragraph 4.1 the “Rent” is defined as all

  4   monetary obligations of the Lessee to the Lessor under the terms of the Lease. The Rent in this

  5   Lease consists of the Base Rent and also the Lessee’s Share of the Company Area Operating

  6   Expenses, as provided in section 4.2 of the Lease. The Lessee’s share of the Operating Expenses

  7   is referred to as “CAM” charges in this complaint.

  8          22.     Paragraph 1.5 of the Lease provides that the Rent to be paid under the Lease is

  9   due on the 1st day of each month and that the Base Rent was $7,461 per month from January 1,

 10   2018 to December 14, 2019.

 11          23.     Paragraph 54 of the Lease provides that if the Lease is renewed, the Base Rent for

 12   the Renewal Years shall be $7,915 per month for the period of December 15, 2019 to December

 13   14, 2020 and $8,152 per month for the period December 15, 2020 to December 14, 2021. The

 14   CAM charges are $1,580 per month.

 15          24.     Kool Blast renewed the Lease for the term through December 14, 2020 and Kool

 16   Blast continues to occupy the premises.

 17          25.     The Lease provides at paragraph 13.5 that any monetary payment due Lessor

 18   under the Lease, other than late charges, shall bear interest at 10% from the 31st day after it was

 19   due.

 20          26.     The Lease provides at paragraph 31 that attorney fees shall be awarded to the

 21   prevailing party on any action or proceeding involving the leased premises. The same paragraph

 22   allows for recovery of attorney fees incurred by Lessor in the preparation and service of notices

 23   of default and consultations in connection therewith. Plaintiffs incurred attorney fees of $1,921

 24   in preparing and service of the notice of default on defendant. Plaintiffs have also now incurred

 25   and will continue to incur attorney fees and expenses associated with litigation in this lawsuit

 26   over the defendants’ breach of lease and the related guaranty of lease.

 27          27.     Defendant Kool Blast breached the lease by failing to timely pay the rent as it

 28   came due under the Lease, including failing to timely pay the base rent and the CAM charges.

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  1   As of April 10, 2020 defendant Kool Blast was delinquent in its Rent and was behind in

  2   payments, and had made no payment towards the February, March, or April rent for 2020. As of

  3   April 10, 2020 Kool Blast owed $36,163 in back rent and late charges, not including the interest

  4   owed on the unpaid Rent balances.

  5           28.        On April 10, 2020 plaintiffs sent written notice to Kool Blast and to defendants

  6   Lewis O’Reilly and Maryellen O’Reilly that Kool Blast was in breach of its Lease and of the

  7   amount owed. The notice also informed the defendants that because Kool Blast had failed to

  8   timely pay rent for three consecutive months, Lessors were now demanding that rent be paid on a

  9   quarterly basis in advance as provided by paragraph 13.4 of the Lease.

 10           29.        Subsequent to the April 10, 2020 notice, Kool Blast continued to breach the lease

 11   by not paying the rent then due on the Lease.

 12           30.        Plaintiffs have been damaged by Kool Blast’s breaches of the Lease in the amount

 13   of $89,143.10, plus the incurred attorney fees, plus interest on the late rent payments. This

 14   amount includes all rent payments and late charges through April of 2021, and includes the all

 15   payments made through May 2021, with the last payment of $25,000 made on or about

 16   December 29, 2020.

 17           31.        Plaintiffs have performed all material conditions, covenants, and promises on

 18   their part to be performed under the agreement, except as excused by defendant’s breaches.

 19   Plaintiffs have given all notices and taken all actions necessary to sue for the damages requested

 20   in this lawsuit.

 21           32.        The written Lease agreement also includes a provision for recovery of attorney

 22   fees and costs for the prevailing party in any action brought upon this agreement. Plaintiffs have

 23   been required to hire an attorney to assist them in this lawsuit to enforce this agreement, and are

 24   thus entitled to recover those attorney fees and costs.

 25   Allegations On Why The Debt Should Not Be Discharged Because Of Fraud

 26           33.        A true copy of the written Guaranty of Lease that was provided by O’Reilly to

 27   plaintiffs to obtain the lease is attached to this complaint as Exhibit B to both Exhibit 1 (the

 28   state Complaint) and Exhibit 3 (the state First Amended Complaint) and is incorporated herein

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  1   by reference.

  2          34.      Lewis O’Reilly, acting for himself and as an officer of Kool Blast and on behalf

  3   of Kool Blast, falsely and fraudulently forged the signature for Maryellen O’Reilly on the written

  4   Lease and on the written Guaranty of Lease. O’Reilly has admitted the same in his answer to the

  5   original complaint in this lawsuit, as alleged above.

  6          35.      Debtor presented the signed Lease and Guaranty to plaintiffs representing that the

  7   signatures on the documents were Lewis O’Reilly’s and that of Maryellen O’Reilly when Lewis

  8   O’Reilly knew that his representations were false and that Lewis had forged Maryellen

  9   O’Reilly’s signature on the documents without permission of Maryellen O’Reilly.

 10          36.      Debtor knew that plaintiffs would rely on the representation that it was Maryellen

 11   O’Reilly’s signature and plaintiffs would believe that the signature for Maryellen O’Reilly on the

 12   lease documents were hers and were valid.

 13          37.      Plaintiffs reasonably relied upon the forged signatures of Maryellen O’Reilly and

 14   the representations that both Lewis O’Reilly and Maryellen O’Reilly had signed the Lease as

 15   officers of Kool Blast and that they guaranteed the lease obligations of Kool Blast when

 16   plaintiffs agreed to lease the subject property to Kool Blast.

 17          38.      Plaintiffs were damaged by the fraud of defendant Debtor in that they leased the

 18   subject property to Kool Blast relying upon the false representations, and Kool Blast has

 19   defaulted on its duty to make rental payments, and as a result plaintiffs looked to the guaranty to

 20   recover the damages they have suffered by the breaches of the Lease Agreement. But the

 21   purported guarantor Maryellen O’Reilly has stated that she is not a guarantor and will not agree

 22   to make payment for the losses plaintiffs will suffer because of the breaches of the Lease

 23   Agreement by Kool Blast.

 24          39.      As a proximate result of this fraud and forgery, Plaintiffs were damaged in an

 25   amount of $89,143.10 plus interest for the unpaid rent and late charges, plus incurred attorney

 26   fees, and such additional funds plaintiffs will spend on attorney fees and costs trying to recover

 27   the unpaid funds under the Guaranty Agreement.

 28          40.      The Bankruptcy Code at 11 U.S.C. § 523(a)(2) provides that “(a) A discharge

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  1   under section 727, 1141, 1192 [1] 1228(a), 1228(b), or 1328(b) of this title does not discharge an

  2   individual debtor from any debt— (2) for money, property, services, or an extension, renewal, or

  3   refinancing of credit, to the extent obtained by— (A) false pretenses, a false representation, or

  4   actual fraud, other than a statement respecting the debtor’s or an insider’s financial condition.”

  5

  6          WHEREFORE, Plaintiffs request judgment against Debtor/defendant O’Reilly as

  7   follows:

  8          1.      That the court declare and rule that Plaintiffs’ claim against O’Reilly shall not be

  9   discharged in this bankruptcy proceeding.

 10          2.      For award of costs of suit.

 11          3.      For award of attorney fees.

 12          5.      For such other and further relief as the court deems just and proper.

 13

 14   DATED: January 10, 2021                       VOSS, COOK & THEL LLP

 15

 16                                                 By:        /s/ Francis T. Donohue III
                                                             Francis T. Donohue III, Esq.
 17                                                          for Plaintiffs Angela Danciu and George
                                                             Danciu
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            1   Francis T. Donohue III, Esq. (CSB# 106801)
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                Irvine, California 92612-7504
            3   (949) 435-0225
                email: ftd@vctlaw.com
            4
                Attorneys for Plaintiffs Angela Danciu and George Danciu
            5

            6

            7
                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
            8
                                  ORANGE COUNTY, CENTRAL JUSTICE CENTER
            9
                Angela Danciu and George Danciu                     )    CASE NO.
          10                                                        )
                                      Plaintiffs,                   )
          11                                                        )    Complaint for:
                       vs.                                          )
          12                                                        )    1. Breach of Contract (Lease)
                Kool Blast Gas, Inc, a California                   )    2. Breach Contract (Guaranty)
          13    Corporation; Lewis O’Reilly and Maryellen           )
                O’Reilly and Does 1 through 60;                     )    ASSIGNED FOR ALL PURPOSES TO:
          14                                                        )
                                      Defendants.                   )
          15                                                        )
          16           Plaintiffs Angela Danciu and George Danciu (“Plaintiffs”) allege as follows:

          17

          18           1.     Plaintiffs Angela Danciu and George Danciu are residents of California

          19           2.     Defendant Kool Blast Gas, Inc. is a California Corporation with its

          20    principal place of business located at 1351 Logan Avenue, Suite A, Costa Mesa. This

          21    defendant is referred to as “Kool Blast” herein.

          22           3.     Lewis O’Reilly is an individual and a resident of California.

          23           4.     Maryellen O’Reilly is an individual and resident of California.

          24           5.     Plaintiffs do not currently know the identities of defendants named herein

          25    as DOES 1 to 10. DOES 1 to 10 are in some other way liable and responsible for the

          26    damages suffered by Plaintiff as alleged herein. Plaintiff reserves the right to amend

          27    this pleading to insert the names of these persons at a later time when the name and

          28    capacity of any such Doe becomes known to Plaintiff.

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  1

  2                                  FIRST CAUSE OF ACTION

  3                                 For Breach of Contract (Lease)

  4                           By Plaintiffs Against Kool Blast Gas, Inc.

  5          6.     Plaintiffs repeat and reallege each and every allegation contained above,

  6   as though fully set forth herein.

  7          7.     Plaintiffs Angela Danciu and George Danciu entered into a written lease

  8   contract with defendant Kool Blast for the lease of real estate located at 1351 Logan

  9   Avenue, Suite A, Costa Mesa, CA. A true and correct copy of the contract is Exhibit A

 10   to this complaint and is incorporated herein by reference. The contract is referred to as

 11   the “Lease” herein.

 12          8.     Under the terms of the Lease at paragraph 4.1 the “Rent” is defined as all

 13   monetary obligations of the Lessee to the Lessor under the terms of the Lease. The Rent

 14   in this Lease consists of the Base Rent and also the Lessee’s Share of the Company Area

 15   Operating Expenses, as provided in section 4.2 of the Lease. The Lessee’s share of the

 16   Operating Expenses is referred to as “CAM” charges in this complaint.

 17          9.     Paragraph 1.5 of the Lease provides that the Rent to be paid under the

 18   Lease is due on the 1st day of each month and that the Base Rent was $7,461 per month

 19   from January 1, 2018 to December 14, 2019.

 20          10.    Paragraph 54 of the Lease provides that if the Lease is renewed, the Base

 21   Rent for the Renewal Years shall be $7,915 per month for the period of December 15,

 22   2019 to December 14, 2020 and $8,152 per month for the period December 15, 2020 to

 23   December 14, 2021. The CAM charges are $1,580 per month.

 24          11.    Kool Blast renewed the Lease for the term through December 14, 2020 and

 25   Kool Blast continues to occupy the premises.

 26          12.    The Lease provides at paragraph 13.5 that any monetary payment due

 27   Lessor under the Lease, other than late charges, shall bear interest at 10% from the 31st

 28   day after it was due.

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                                             COMPLAINT

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  1          13.    The Lease provides at paragraph 31 that attorney fees shall be awarded to

  2   the prevailing party on any action or proceeding involving the leased premises. The

  3   same paragraph allows for recovery of attorney fees incurred by Lessor in the

  4   preparation and service of notices of default and consultations in connection therewith.

  5   Plaintiffs incurred attorney fees of $1,921 in preparing and service of the notice of

  6   default on defendant. Plaintiffs have also now incurred and will continue to incur

  7   attorney fees and expenses associated with litigation in this lawsuit over the

  8   defendants’ breach of lease and the related guaranty of lease.

  9          14.    Defendant Kool Blast has breached the lease by failing to timely pay the

 10   rent as it came due under the Lease, including failing to timely pay the base rent and

 11   the CAM charges. As of April 10, 2020 defendant Kool Blast was delinquent in its Rent

 12   and was behind in payments, and had made no payment towards the February, March,

 13   or April rent for 2020. As of April 10, 2020 Kool Blast owed $36,163 in back rent and

 14   late charges, not including the interest owed on the unpaid Rent balances.

 15          15.    On April 10, 2020 plaintiffs sent written notice to Kool Blast and to

 16   defendants Lewis O’Reilly and Maryellen O’Reilly that Kool Blast was in breach of its

 17   Lease and of the amount owed. The notice also informed the defendants that because

 18   Kool Blast had failed to timely pay rent for three consecutive months, Lessors were now

 19   demanding that rent be paid on a quarterly basis in advance as provided by paragraph

 20   13.4 of the Lease.

 21          16.    No rent payment has been made to Plaintiffs since a partial payment was

 22   last made in January 2020.

 23          17.    Plaintiffs have been damaged by Kool Blast’s breaches of the Lease in an

 24   in the amount of at least $108,324, plus late charges on payments due after May 10,

 25   2020, plus the incurred attorney fees, and plus interest on the late rent payments. This

 26   amount includes all rent payments and late charges through May of 2020, and includes

 27   the rent payments (Base Rent and CAMs) through the remainder of the Lease ending

 28   December 14, 2020.

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                                             COMPLAINT

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  1          18.    Plaintiffs have performed all material conditions, covenants, and promises

  2   on their part to be performed under the agreement, except as excused by defendant’s

  3   breaches. Plaintiffs have given all notices and taken all actions necessary to sue for the

  4   damages requested in this lawsuit.

  5          19.    The written Lease agreement also includes a provision for recovery of

  6   attorney fees and costs for the prevailing party in any action brought upon this

  7   agreement. Plaintiffs have been required to hire an attorney to assist them in this

  8   lawsuit to enforce this agreement, and are thus entitled to recover those attorney fees

  9   and costs.

 10

 11                                SECOND CAUSE OF ACTION

 12                              For Breach of Contract (Guaranty)

 13        By All Plaintiffs against Defendants Lewis O’Reilly and Maryellen O’Reilly

 14          20.    Plaintiffs repeat and reallege each and every allegation in paragraphs 1

 15   through 19 above as though fully set forth herein.

 16          21.    As part of the consideration for Plaintiffs to lease the premises to Kool

 17   Blast, both Lewis O’Reilly and Maryellen O’Reilly entered a written agreement with

 18   Plaintiffs in which Lewis O’Reilly and Maryellen O’Reilly agreed to guaranty the

 19   obligations of Kool Blast under the Lease. Lewis O’Reilly and Maryellen O’Reilly are

 20   referred to as “Guarantors” herein. A true copy of the written guaranty is attached to

 21   this pleading as Exhibit B and its terms are incorporated herein.

 22          22.    Guarantors have breached the Guaranty Agreement because despite

 23   receiving notice of the breach by Kool Blast, Guarantors have failed to pay any or all of

 24   the rent and other payments owed by Kool Blast to plaintiffs under the Lease.

 25          23.    Plaintiffs have been damaged by Guarantor’s breaches of the Guaranty

 26   Agreement in an amount in the amount of at least $108,324, plus late charges on

 27   payments due after May 10, 2020, and plus interest on the late rent payments. This

 28   amount includes all rent payments and late charges through May of 2020, and includes

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 1    the rent payments (Base Rent and CAMs) through the remainder of the Lease ending

 2    December 14, 2020.

 3           24.    Plaintiffs have performed all material conditions, covenants, and promises

 4    on their part to be performed under the agreement, except as excused by defendant’s

 5    breaches. Plaintiffs have given all notices and taken all actions necessary to sue for the

 6    damages requested in this lawsuit.

 7           25.    The written Guaranty Agreement and the Lease both includes a provision

 8    for recovery of attorney fees and costs for the prevailing party in any action brought

 9    upon the Lease or Guaranty Agreement. Plaintiffs have been required to hire an

 10   attorney to assist them in this lawsuit to enforce this agreement, and are thus entitled to

 11   recover those attorney fees and costs.

 12

 13          WHEREFORE, Plaintiffs request judgment against Defendants as follows:

 14          1.     For monetary damages of $108,324 or such larger amount as proven at

 15   trial, plus pre-litigation attorney fees of $1,921, plus interest according to contract, plus

 16   such other damages that result from the failure of defendants to pay the additional rent

 17   as the rent comes due thereafter.

 18          2.     For costs of suit.

 19          3.     For attorney fees.

 20          4.     For such other and further relief as the court deems just and proper.

 21

 22   DATED: May 26, 2020                        VOSS, COOK & THEL LLP

 23

 24                                              By:
                                                          Francis T. Donohue III, Esq.
 25                                                       for Plaintiffs
 26

 27

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30-2020-01146632-CU-BC-CJC - ROA # 27 - DAVID H. YAMASAKI, Clerk of the Court By Kari Frumento, Deputy Clerk.




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           5

           6

           7
                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
           8
                                  ORANGE COUNTY, CENTRAL JUSTICE CENTER
           9
                Angela Danciu and George Danciu                     )   CASE NO. 30-2020-01146632-CU-BC- CJC
          10                                                        )
                                      Plaintiffs,                   )    First Amended Complaint for:
          11                                                        )
                       vs.                                          )    1. Breach of Contract (Lease)
          12                                                        )    2. Breach Contract (Guaranty)
                Kool Blast Gas, Inc., a California                  )    3. Fraud
          13    Corporation; Lewis O’Reilly, and Does 1             )
                through 10                                          )
          14                                                        )
                                      Defendants.                   )
          15                                                        )
          16           Plaintiffs Angela Danciu and George Danciu (“Plaintiffs”) allege as follows:

          17           1.     Plaintiffs Angela Danciu and George Danciu are residents of California

          18           2.     Defendant Kool Blast Gas, Inc. is a California Corporation with its

          19   principal place of business located at 1351 Logan Avenue, Suite A, Costa Mesa. This

          20   defendant is referred to as “Kool Blast” herein.

          21           3.     Lewis O’Reilly is an individual and a resident of California.

          22           4.     [Intentionally omitted.]

          23           5.     Plaintiffs do not currently know the identities of defendants named herein

          24   as DOES 1 to 10. DOES 1 to 10 are in some other way liable and responsible for the

          25   damages suffered by Plaintiff as alleged herein. Plaintiff reserves the right to amend

          26   this pleading to insert the names of these persons at a later time when the name and

          27   capacity of any such Doe becomes known to Plaintiff.

          28

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  1

  2                                  FIRST CAUSE OF ACTION

  3                                 For Breach of Contract (Lease)

  4                           By Plaintiffs Against Kool Blast Glass, Inc.

  5          6.     Plaintiffs repeat and reallege each and every allegation contained above,

  6   as though fully set forth herein.

  7          7.     Plaintiffs Angela Danciu and George Danciu entered into a written lease

  8   contract with defendant Kool Blast for the lease of real estate located at 1351 Logan

  9   Avenue, Suite A, Costa Mesa, CA. A true and correct copy of the contract is Exhibit A

 10   to this complaint and is incorporated herein by reference. The contract is referred to as

 11   the “Lease” herein.

 12          8.     Under the terms of the Lease at paragraph 4.1 the “Rent” is defined as all

 13   monetary obligations of the Lessee to the Lessor under the terms of the Lease. The Rent

 14   in this Lease consists of the Base Rent and also the Lessee’s Share of the Company Area

 15   Operating Expenses, as provided in section 4.2 of the Lease. The Lessee’s share of the

 16   Operating Expenses is referred to as “CAM” charges in this complaint.

 17          9.     Paragraph 1.5 of the Lease provides that the Rent to be paid under the

 18   Lease is due on the 1st day of each month and that the Base Rent was $7,461 per month

 19   from January 1, 2018 to December 14, 2019.

 20          10.    Paragraph 54 of the Lease provides that if the Lease is renewed, the Base

 21   Rent for the Renewal Years shall be $7,915 per month for the period of December 15,

 22   2019 to December 14, 2020 and $8,152 per month for the period December 15, 2020 to

 23   December 14, 2021. The CAM charges are $1,580 per month.

 24          11.    Kool Blast renewed the Lease for the term through December 14, 2020 and

 25   Kool Blast continues to occupy the premises.

 26          12.    The Lease provides at paragraph 13.5 that any monetary payment due

 27   Lessor under the Lease, other than late charges, shall bear interest at 10% from the 31st

 28   day after it was due.

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                                     FIRST AMENDED COMPLAINT

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  1          13.    The Lease provides at paragraph 31 that attorney fees shall be awarded to

  2   the prevailing party on any action or proceeding involving the leased premises. The

  3   same paragraph allows for recovery of attorney fees incurred by Lessor in the

  4   preparation and service of notices of default and consultations in connection therewith.

  5   Plaintiffs incurred attorney fees of $1,921 in preparing and service of the notice of

  6   default on defendant. Plaintiffs have also now incurred and will continue to incur

  7   attorney fees and expenses associated with litigation in this lawsuit over the

  8   defendants’ breach of lease and the related guaranty of lease.

  9          14.    Defendant Kool Blast has breached the lease by failing timely pay the rent

 10   as it came due under the Lease, including failing to timely pay the base rent and the

 11   CAM charges. As of April 10, 2020 defendant Kool Blast was delinquent in its Rent and

 12   was behind in payments, and had made no payment towards the February, March, or

 13   April rent for 2020. As of April 10, 2020 Kool Blast owed $36,163 in back rent and late

 14   charges, not including the interest owed on the unpaid Rent balances.

 15          15.    On April 10, 2020 plaintiffs sent written notice to Kool Blast and to

 16   defendants Lewis O’Reilly and Maryellen O’Reilly that Kool Blast was in breach of its

 17   Lease and of the amount owed. The notice also informed the defendants that because

 18   Kool Blast had failed to timely pay rent for three consecutive months, Lessors were now

 19   demanding that rent be paid on a quarterly basis in advance as provided by paragraph

 20   13.4 of the Lease.

 21          16.    Subsequent to the April 10, 2020 notice, no rent payment was timely

 22   made, although a payment of $25,000 was made on or about December 29, 2020.

 23          17.    Plaintiffs have been damaged by Kool Blast’s breaches of the Lease in an

 24   in the amount of at least $116,502, plus the incurred attorney fees, and plus interest on

 25   the late rent payments. This amount includes all rent payments and late charges

 26   through April of 2021, and includes the all payments made through May 2021, with the

 27   last payment of $25,000 made on or about December 29, 2020.

 28          18.    Plaintiffs have performed all material conditions, covenants, and promises

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                                     FIRST AMENDED COMPLAINT

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  1   on their part to be performed under the agreement, except as excused by defendant’s

  2   breaches. Plaintiffs have given all notices and taken all actions necessary to sue for the

  3   damages requested in this lawsuit.

  4          19.    The written Lease agreement also includes a provision for recovery of

  5   attorney fees and costs for the prevailing party in any action brought upon this

  6   agreement. Plaintiffs have been required to hire an attorney to assist them in this

  7   lawsuit to enforce this agreement, and are thus entitled to recover those attorney fees

  8   and costs.

  9

 10                                SECOND CAUSE OF ACTION

 11                              For Breach of Contract (Guaranty)

 12                     By All Plaintiffs against Defendant Lewis O’Reilly

 13          20.    Plaintiffs repeat and reallege each and every allegation in paragraphs 1

 14   through 19 above as though fully set forth herein.

 15          21.    As part of the consideration for Plaintiffs to lease the premises to Kool

 16   Blast, both Lewis O’Reilly and Maryellen O’Reilly entered a written agreement with

 17   Plaintiffs in which Lewis O’Reilly and Maryellen O’Reilly agreed to guaranty the

 18   obligations of Kool Blast under the Lease. Lewis O’Reilly and Maryellen O’Reilly are

 19   referred to as “Guarantors” herein. A true copy of the written guaranty is attached to

 20   this pleading as Exhibit B and its terms are incorporated herein.

 21          22.    Guarantors have breached the Guaranty Agreement because despite

 22   receiving notice of the breach by Kool Blast, Guarantors have failed to pay any or all of

 23   the rent and other payments owed by Kool Blast to plaintiffs under the Lease.

 24          23.    Plaintiffs have been damaged by Guarantor’s breaches of the Guaranty

 25   Agreement in an amount in the amount of at least $116,502 plus interest on the late rent

 26   payments, plus incurred attorney fees and costs.

 27          24.    Plaintiffs have performed all material conditions, covenants, and promises

 28   on their part to be performed under the agreement, except as excused by defendant’s

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  1   breaches. Plaintiffs have given all notices and taken all actions necessary to sue for the

  2   damages requested in this lawsuit.

  3          25.    The written Guaranty Agreement and the Lease both includes a provision

  4   for recovery of attorney fees and costs for the prevailing party in any action brought

  5   upon the Lease or Guaranty Agreement. Plaintiffs have been required to hire an

  6   attorney to assist them in this lawsuit to enforce this agreement, and are thus entitled to

  7   recover those attorney fees and costs.

  8

  9                                 THIRD CAUSE OF ACTION

 10                                            For Fraud

 11                           By All Plaintiffs against All Defendants

 12          26.    Plaintiffs repeat and reallege each and every allegation in paragraphs 1

 13   through 25 above as though fully set forth herein.

 14          27.    Lewis O’Reilly, acting for himself and as an officer of Kool Blast and on

 15   behalf of Kool Blast, falsely and fraudulently forged the signature for Maryellen

 16   O’Reilly on the written Guaranty Agreement (Exhibit B.) Lewis O’Reilly has admitted

 17   the same in his answer to the original complaint in this lawsuit, and plaintiffs

 18   discovered the fraud in 2021 at or about the time that they received O’Reilly’s

 19   declaration that he had forged Maryellen O’Reilly’s signature.

 20          28.    Lewis O’Reilly and Kool Blast presented the Guaranty Agreement to

 21   plaintiffs representing that the signatures on the Guaranty were Lewis O’Reilly’s and

 22   that of Maryellen O’Reilly when Lewis O’Reilly and Kool Blast knew that the

 23   representations were false and that Lewis had forged Maryellen O’Reilly’s signature on

 24   the Guaranty Agreement without permission of Maryellen O’Reilly.

 25          29.    Plaintiffs are informed and believe and thereon allege that defendant Does

 26   1-3 knew or reasonably should have known that the signature of Maryellen O’Reilly

 27   was forged and was not her real or authorized signature, that the representations that it

 28   was her valid signature were false, and that plaintiffs would rely upon those

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  1   representations.

  2          30.    Plaintiffs are informed and believe and thereon allege that Does 1-3 aided

  3   and abetted Kool Blast and Lewis O’Reilly in their fraud by not disclosing to plaintiffs

  4   that the signature of Maryellen O’Reilly was forged and that it was not her real or

  5   authorized signature, and that by presenting the Guaranty Agreement bearing the

  6   fraudulent Maryellen O’Reilly signature to plaintiffs they represented that it was

  7   Maryellen O’Reilly’s signature. Plaintiffs further allege that defendants knew that

  8   plaintiffs would rely on the representation that it was Maryellen O’Reilly’s signature

  9   and Plaintiffs would believe that the signature for Maryellen O’Reilly on the Guaranty

 10   Agreement was hers and was valid.

 11          31.    Plaintiffs reasonably relied upon the forged signature of Maryellen

 12   O’Reilly and the representations that both Lewis O’Reilly and Maryellen O’Reilly had

 13   guaranteed the lease obligations of Kool Blast when plaintiffs agreed to lease the subject

 14   property to Kool Blast.

 15          32.    Plaintiffs were damaged by the fraud of defendants in that they leased the

 16   subject property to Kool Blast relying upon the false representations, and Kool Blast has

 17   defaulted on its duty to make rental payments, and as a result plaintiffs will need to

 18   look to the guaranty to recover the damages they have suffered by the breaches of the

 19   Lease Agreement. But the purported guarantor Maryellen O’Reilly has stated that she

 20   is not a guarantor and will not agree to make payment for the losses plaintiffs will

 21   suffer because of the breaches of the Lease Agreement by Kool Blast.

 22          33.    As a proximate result of this fraud and forgery, Plaintiffs were damaged

 23   in an amount of at least $116,502 plus interest for the unpaid rent and late charges, plus

 24   incurred attorney fees, and such additional funds plaintiffs will spend on attorney fees

 25   and costs trying to recover the unpaid funds under the Guaranty Agreement.

 26          34.    The above alleged acts of defendants include acts of fraud that were done

 27   with knowledge that plaintiffs could be harmed by the deception. These acts were done

 28   with such malice and oppression that exemplary damages should be awarded against

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                                    FIRST AMENDED COMPLAINT

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 1    each of them.

 2

 3           WHEREFORE, Plaintiffs request judgment against Defendants as follows:

 4           1.       For monetary damages of $116,502 or such larger amount as proven at

 5    trial, plus pre-litigation attorney fees of $1,921, plus interest according to contract, plus

 6    such other damages that result from the failure of defendants to pay the additional rent

 7    as the rent comes due thereafter.

 8           2.       For costs of suit.

 9           3.       For attorney fees.

 10          4.       For award of punitive damages based on the Fourth Cause of Action.

 11          5.       For such other and further relief as the court deems just and proper.

 12

 13   DATED: June 16, 2021                       VOSS, COOK & THEL LLP

 14

 15                                              By:
                                                          Francis T. Donohue III, Esq.
 16                                                       for Plaintiffs
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                                       FIRST AMENDED COMPLAINT

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                                    First Amended Complaint filed




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  B1040 (FORM 1040) (12/15)

         ADVERSARY PROCEEDING COVER SHEET                                                        ADVERSARY PROCEEDING NUMBER
                                                                                                 (Court Use Only)
                 (Instructions on Reverse)

PLAINTIFFS                                                                        DEFENDANTS
Angela Danciu and George Danciu                                                      Lewis O’Reilly


ATTORNEYS (Firm Name, Address, and Telephone No.)                                 ATTORNEYS (If Known)
Francis T. Donohue III, Esq. (CSB# 106801)                                        Charles W. Daff, Esq.
 VOSS, COOK & THEL LLP, 2301 Dupont Drive, Suite 500                              2107 N. Broadway, Suite 308
 Irvine, California 92612-7504
 Telephone (949) 435-0225                                                         Santa Ana, CA 92706
PARTY (Check One Box Only)                                                        PARTY (Check One Box Only)
                  Trustee/Bankruptcy Admin                                          Debtor                 U.S. Trustee/Bankruptcy Admin
                                                                                    Creditor               Other
                                                                                    Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Seeking a Determination That Defendant’s Debts to Plaintiffs Are Not Dischargeable Because of Fraud
Pursuant to 11 U.S.C. §523(a)(2) based on claim that Debtor fraudulently forged his wife's
signature on a Lease and Lease Guaranty


                                                                      NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                     FRBP 7001(6) – Dischargeability (continued)
    11-Recovery of money/property - §542 turnover of property                        61-Dischargeability - §523(a)(5), domestic support
    12-Recovery of money/property - §547 preference                                  68-Dischargeability - §523(a)(6), willful and malicious injury
    13-Recovery of money/property - §548 fraudulent transfer                         63-Dischargeability - §523(a)(8), student loan
    14-Recovery of money/property - other                                            64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                        (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien                              65-Dischargeability - other
    21-Validity, priority or extent of lien or other interest in property
                                                                                  FRBP 7001(7) – Injunctive Relief
    FRBP 7001(3) – Approval of Sale of Property                                      71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                     72-Injunctive relief – other

    FRBP 7001(4) – Objection/Revocation of Discharge                              FRBP 7001(8) Subordination of Claim or Interest
    41-Objection / revocation of discharge - §727(c),(d),(e)                         81-Subordination of claim or interest

    FRBP 7001(5) – Revocation of Confirmation
                                                                                  FRBP 7001(9) Declaratory Judgment
    51-Revocation of confirmation                                                    91-Declaratory judgment

    FRBP 7001(6) – Dischargeability                                               FRBP 7001(10) Determination of Removed Action
    66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
                                                                                     01-Determination of removed claim or cause
    62-Dischargeability - §523(a)(2), false pretenses, false representation,
        actual fraud                                                              Other
    67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny       SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                       (continued next column)                                        02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
  Check if this case involves a substantive issue of state law                      Check if this is asserted to be a class action under FRCP 23
                 trial is demanded in complaint                                   Demand $
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                         Lewis O'Reilly
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                    NAME OF JUDGE

                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                 ADVERSARY
                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                    NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)




                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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                               Exhibit D
   Copy of Proof of Service of Summons
      and Complaint on Defendant
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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Francis Thomas Donohue
Voss, Cook & Thel
2301 Dupont Drive
Suite 500
Irvine, CA 92612
949−435−0225




Plaintiff or Attorney for Plaintiff

                                        UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA − SANTA ANA
In re:

                                                                              CASE NO.:    8:21−bk−12426−MW

Lewis R O'Reilly                                                              CHAPTER:     7


                                                                              ADVERSARY NUMBER:         8:22−ap−01002−MW
                                                               Debtor(s).

Angela Danciu

(See Attachment A for names of additional plaintiffs)
                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Lewis R O'Reilly                                                                     PROCEEDING [LBR 7004−1]

                                                           Defendant(s)


TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
02/10/2022. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                April 6, 2022
             Time:                10:00 AM
             Hearing Judge:       Mark S Wallace
             Location:            411 W Fourth St., Crtrm 6C, Santa Ana, CA 92701



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: January 11, 2022




                                                                                        By:        "s/" James Le
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
Angela Danciu                                                                Lewis R O'Reilly
George Danciu




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                  AP-Summons
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                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Voss, Cook & Thel, LLP, 2301 Dupont Drive, Suite 500, Irvine, CA 92612


A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004−1] and (2) the accompanying pleading(s) entitled:
 Adversary Complaint Objecting to Discharge of Claim and for Finding Claim Nondischargable
__________________________________________________________________________________________________________
  Pursuant to 11 U.S.C. s 523 ; and Early Meeting of Counsel and Status Conference Instructions
__________________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005−2(d); and (b) in the manner
stated below:

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
   Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
   (date) _____________________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
   addresses stated below:




                                                                               Service information continued on attached page
                                                          1/25/2022
   2. SERVED BY UNITED STATES MAIL: On (date) _____________________,                   I served the following persons and/or
   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
   the document is filed.
   1. Lewis O'Reilly 3059 Scholarship, Irvine, CA 92612
    2. Hon. Mark S. Wallace

                                                                               Service information continued on attached page
   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
   method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
   _____________________, I served the following persons and/or entities by personal delivery, overnight mail service,
   or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
   completed no later than 24 hours after the document is filed.

    1. Charles W. Daff on behaofl of Lewis R.. O'Reilly charleswdaff@gmail.com, r53975@notify.bestcase.com


                                                                               Service information continued on attached page
   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   1/25/22                         Francis T. Donohue III
   _____________________________________________________________
                                                                                                                s // Francis T Donohue
                                                                                                    _________________________________
   Date                   Printed Name                                                                 Signature

                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                                                  F 7004−1.SUMMONS.ADV.PROC
Case 8:22-ap-01002-ES    Doc 13 Filed 05/09/22 Entered 05/09/22 14:34:57   Desc
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                               Exhibit E
       Proposed Order Granting Default
                 Judgment
Case 8:22-ap-01002-ES          Doc 13 Filed 05/09/22 Entered 05/09/22 14:34:57               Desc
                              Main Document    Page 106 of 110


  1   Francis T. Donohue III, Esq. (CSB# 106801)
      email: ftd@vctlaw.com
  2   VOSS, COOK & THEL LLP
      2301 Dupont Drive, Suite 500
  3   Irvine, California 92612-7504
      Telephone (949) 435-0225
  4   Fax 949 435-0226
  5   Attorneys for Plaintiffs
      Angela Danciu and George Danciu
  6

  7

  8                            UNITED STATES BANKRUPTCY COURT

  9                              CENTRAL DISTRICT OF CALIFORNIA

 10                                        SANTA ANA DIVISION

 11   In re:                                                  )
                                                              )   CASE NO. 8:21-bk-12426-ES
 12   LEWIS R. O’REILLY                                       )
                                                              )   Chapter 7
 13                                                           )
                        Debtor                                )
 14                                                           )   Adv. Case No.8:22-01002-ES
      __________________________________                      )
 15                                                           )
      Angela Danciu and George Danciu                         )   [Proposed] ORDER Granting
 16                                                           )   Plaintiffs’ Motion for Entry of
                                Plaintiffs,                   )   Default Judgment
 17                                                           )
               vs.                                            )   Notice pursuant to LBR 9013-
 18                                                           )
      Lewis R. O’Reilly                                       )   1(b)
 19                                                           )
                                Defendant.                    )
 20                                                           )
                                                              )
 21
               Plaintiffs and creditors Angela Danciu and George Danciu (collectively, the
 22
      “Dancius” or “plaintiffs”) have moved for entry of default judgment against debtor
 23
      and defendant Lewis R. O’Reilly.
 24
               Good cause having been found, IT IS HEREBY ORDERED that:
 25
               1. Plaintiff’s motion for entry of default judgment against Lewis R. O’Reilly
 26
      is Granted.
 27
               2. A separate judgment will be entered against debtor and defendant Lewis
 28

                                                        -1-
                     [Proposed] ORDER Granting Plaintiffs’ Motion for Entry of Default Judgment
Case 8:22-ap-01002-ES     Doc 13 Filed 05/09/22 Entered 05/09/22 14:34:57               Desc
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  1   O’Reilly and in favor of plaintiffs Angela Danciu and George Danciu shall be

  2   entered which shall find and declare that the claims of Angela Danciu and George

  3   Danciu against Lewis R. O’Reilly for breach of contract (guaranty) and fraud as set

  4   forth in the First Amended Complaint in case Danciu v. O’Reilly, Case Number 30-

  5   2020-01146632 pending in the Superior Court of the State of California are non-

  6   dischargeable pursuant 11 U.S.C. § 523(a)(2) and therefore are not discharged in

  7   this above captioned bankruptcy; and the stay on that state court action is hereby

  8   lifted so that plaintiffs may pursue their claims against O’Reilly in the state court

  9   action.

 10

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 13   Dated: __________________          By:

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                [Proposed] ORDER Granting Plaintiffs’ Motion for Entry of Default Judgment
Case 8:22-ap-01002-ES      Doc 13 Filed 05/09/22 Entered 05/09/22 14:34:57       Desc
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  9                        UNITED STATES BANKRUPTCY COURT

 10                           CENTRAL DISTRICT OF CALIFORNIA

 11                                  SANTA ANA DIVISION

 12   In re:                                           )
                                                       )   CASE NO. 8:21-bk-12426-ES
 13   LEWIS R. O’REILLY                                )
                                                       )   Chapter 7
 14                                                    )
                     Debtor                            )
 15                                                    )   Adv. Case No.8:22-01002-ES
      __________________________________               )
 16                                                    )
      Angela Danciu and George Danciu                  )   [Proposed] JUDGMENT
 17                                                    )
                           Plaintiffs,                 )
 18                                                    )
               vs.                                     )
 19                                                    )
      Lewis R. O’Reilly                                )
 20                                                    )
                           Defendant.                  )
 21                                                    )
                                                       )
 22
               Judgment is hereby ordered in favor of plaintiffs Angela Danciu and George
 23
      Danciu and against defendant Lewis O’Reilly as follows:
 24
               This court finds and declares that the claims of Angela Danciu and George
 25
      Danciu against Lewis R. O’Reilly for breach of contract (guaranty) and fraud as set
 26
      forth in the First Amended Complaint in case Danciu v. O’Reilly, Case Number 30-
 27
      2020-01146632 pending in the Superior Court of the State of California are non-
 28

                                                 -1-
                                         [Proposed] JUDGMENT
Case 8:22-ap-01002-ES     Doc 13 Filed 05/09/22 Entered 05/09/22 14:34:57        Desc
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  1   dischargeable pursuant 11 U.S.C. § 523(a)(2) and therefore are not discharged in

  2   this above captioned bankruptcy; and the stay on that state court action is hereby

  3   lifted so that plaintiffs may pursue their claims against O’Reilly in the state court

  4   action.

  5

  6   Dated ____________               By:

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                                       [Proposed] JUDGMENT
        Case 8:22-ap-01002-ES                Doc 13 Filed 05/09/22 Entered 05/09/22 14:34:57                                        Desc
                                            Main Document    Page 110 of 110

                                    PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Voss, Cook & Thel LLP, 2301 Dupont Drive, Suite 500, Irvine, CA 92612

A true and correct copy of the foregoing document entitled: PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT UNDER
LBR 7055-1 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
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first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
1. [Debtor/Defendant]    Lewis R. O'Reilly, 3059 Scholarship, Irvine, CA 92612
2. [Court] Hon. Erithe Smith, Judge



                                                                                        Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 05/09/2022 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Charles W. Daff, attorney for debtor Lewis R.. O'Reilly at charleswdaff@gmail.com, r53975@notify.bestcase.com




                                                                                        Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 05/09/2022               Francis T. Donohue III
 Date                         Printed Name                                                  Signature




           This form is          It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                     Page 4                               F 7055-1.2.DEFAULT.JMT.MOTION
